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               IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         GREENVILLE DIVISION

 In re:                                      )
                                             )
 CAH ACQUISITION COMPANY #2, LLC,            )
 d/b/a Oswego Community Hospital.            )     Case No. 19-01230-5-JNC
                                             )     Chapter 11
             Debtor.                         )
                                             )
 In re:                                      )
                                             )
 CAH ACQUISITION COMPANY # 3, LLC,           )
 d/b/a Horton Community Hospital.            )     Case No. 19-01180-5-JNC
                                             )     Chapter 11
             Debtor.                         )
                                             )
 In re:                                      )
                                             )
 CAH ACQUISITION COMPANY 7, LLC,             )
 d/b/a Prague Community Hospital.            )     Case No. 19-01298-5-JNC
                                             )     Chapter 11
             Debtor.                         )
                                             )
 In re:                                      )
                                             )
 CAH ACQUISITION COMPANY 12, LLC,            )
 d/b/a Fairfax Community Hospital.           )     Case No. 19-01697-5-JNC
                                             )     Chapter 11
             Debtor.                         )
                                             )
 In re:                                      )
                                             )
 CAH ACQUISITION COMPANY 16, LLC,            )
 d/b/a Haskell County Community Hospital.    )     Case No. 19-01227-5-JNC
                                             )     Chapter 11
             Debtor.                         )
                                             )


    LIMITED OBJECTION TO CONFIRMATION OF SECOND AMENDED
           CHAPTER 11 PLANS OF ORDERLY LIQUIDATION
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       NOW COME Paul Nusbaum and Steve White (“Nusbaum/White”), and file

 this limited objection to the proposed Second Amended Chapter 11 Plans of Orderly

 Liquidation filed in each of the above-captioned cases [Dkt. No. 448 in Case No. 19-

 01230; Dkt. No. 505 in Case No. 19-01180; Dkt. No. 732 in Case No. 19-01298; Dkt.

 No. 691 in Case No. 19-01697; Dkt. No. 643 in Case No. 19-01227] (collectively, the

 “Proposed Plans”), filed by Thomas W. Waldrep, Jr., the chapter 11 trustee in the

 above-captioned cases (the “Trustee”). In support of their limited objection,

 Nusbaum/White state as follows:

       1.     Nusbaum/White, the Trustee, Complete Business Solutions Group, Inc.

 (“CBSG”), by and through its court-appointed receiver, and Cohesive Healthcare

 Management & Consulting LLC (“Cohesive”) have entered into a comprehensive

 settlement involving each of the above-captioned bankruptcy cases. This Court has

 approved this settlement. See, e.g., Dkt. No. 778, Case No. 19-01298. The

 settlement agreement and order approving the settlement are referred to herein as

 the “Settlement Agreement.”

       2.     Upon information and belief, the Proposed Plans are intended to

 incorporate all provisions of the Settlement Agreement. Indeed, the definitional

 sections of the Proposed Plans state that “[t]o the extent there is any inconsistency

 between this Plan and the Settlement Agreement, the Settlement Agreement

 controls.”
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       3.     There are certain provisions of the Proposed Plans that could be

 construed as inconsistent or conflicting with the terms of the Settlement

 Agreement, including the following:

              a. Section IV.A(1)(d) of the Proposed Plans provides that “any cost

                 reports receivables for the year 2019” shall be available for

                 payment of certain administrative expenses. However, under the

                 Settlement Agreement, this is true only for cost report receivables

                 that are “to be billed, collected and turned over to the Trustee by

                 the purchaser of assets in each Case.” In other words, it does not

                 apply to the cost report receivables that accrued on or before

                 October 1, 2019, and for which the Trustee has already submitted

                 cost reports. Section IV.A(1)(d) of the Proposed Plans should not be

                 construed as applying to cost report receivables that accrued prior

                 to October 1, 2019.

              b. Each of the Proposed Plans, with respect to the Class 2 Gemino

                 Note Secured Claim, contains the following sentence: “The

                 payment of this Allowed Secured Claim shall be allocated among

                 the Debtor and the Debtor Affiliates pro rata based upon the

                 proceeds received from the Sale by the Debtor and the Debtor

                 Affiliates.” This provision is an artifact of the plan treatment

                 previously negotiated between the Trustee and Nusbaum/White,

                 and is no longer applicable in light of the Settlement Agreement.
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               c. Certain provisions of the Proposed Plans could be construed as

                  providing that the N/W Subordinated Distribution and the CBSG

                  Note Share – as those capitalized terms are defined in the

                  Settlement Agreement – should be paid to Nusbaum/White and

                  then remitted by Nusbaum/White to CBSG and Cohesive.

                  However, the Settlement Agreement contemplates direct payments

                  by the Trustee for these items.

               d. The treatment of the Class 2 Gemino Note Secured Claim set forth

                  in each of the Proposed Plans is a general summary of the terms of

                  the Settlement Agreement. These summaries are accurate, but

                  should not be construed as over-riding the more detailed treatment

                  set forth in the Settlement Agreement.

          4.   Upon information and belief, the Trustee does not dispute any of the

 foregoing clarifications.

          5.   Nusbaum/White support confirmation of the Proposed Plans so long as

 the orders confirming the Proposed Plans contain language along the following

 lines:

               To the extent there is any inconsistency between the Plan
               and the Settlement Agreement, the terms of the
               Settlement Agreement shall control. Without limiting the
               breadth of the foregoing, (i) Section IV.A(1)(d) of the Plan
               shall not be construed as applying to cost report receivables
               attributable to any time period prior to October 1, 2019,
               which shall be distributed pursuant to the terms of the
               Settlement Agreement, (ii) the following sentence
               regarding the Class 2 Gemino Note Secured Claim is no
               longer applicable in light of the Settlement Agreement, and
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                is hereby deleted: “The payment of this Allowed Secured
                Claim shall be allocated among the Debtor and the Debtor
                Affiliates pro rata based upon the proceeds received from
                the Sale by the Debtor and the Debtor Affiliates,” and (iii)
                the N/W Subordinated Distribution and CBSG Note Share
                (as such capitalized terms are defined in the Settlement
                Agreement) shall be distributed directly by the Trustee to
                Cohesive and CBSG respectively.


          WHEREFORE, Nusbaum/White respectfully request that this Court enter an

 order:

    1. Confirming the Proposed Plans subject to the language set forth above, and

          providing that to the extent there is any inconsistency between the Plan and

          the Settlement Agreement, the terms of the Settlement Agreement shall

          control; and

    2. Granting such other relief as the Court deems just and proper.

          RESPECTFULLY SUBMITTED this the 11th day of November 2020.


                                          NORTHEN BLUE, LLP

                                           /s/ John Paul H. Cournoyer
                                          John Paul H. Cournoyer, NCSB #42224
                                          1414 Raleigh Road, Suite 435
                                          Chapel Hill, NC 27517
                                          Telephone No. (919) 968-4441
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                                          Counsel for Nusbaum/White
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 In re:                                      )
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 CAH ACQUISITION COMPANY # 3, LLC,           )
 d/b/a Horton Community Hospital.            )     Case No. 19-01180-5-JNC
                                             )     Chapter 11
             Debtor.                         )
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 In re:                                      )
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 CAH ACQUISITION COMPANY 7, LLC,             )
 d/b/a Prague Community Hospital.            )     Case No. 19-01298-5-JNC
                                             )     Chapter 11
             Debtor.                         )
                                             )
 In re:                                      )
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 CAH ACQUISITION COMPANY 12, LLC,            )
 d/b/a Fairfax Community Hospital.           )     Case No. 19-01697-5-JNC
                                             )     Chapter 11
             Debtor.                         )
                                             )
 In re:                                      )
                                             )
 CAH ACQUISITION COMPANY 16, LLC,            )
 d/b/a Haskell County Community Hospital.    )     Case No. 19-01227-5-JNC
                                             )     Chapter 11
             Debtor.                         )
                                             )


                          CERTIFICATE OF SERVICE
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        I hereby certify that a copy of the foregoing was served by automatic ECF
 notice upon the following on this date:
  Marjorie K. Lynch                          Rayford K. Adams, III
  Brian Behr                                 Counsel for the Debtors
  Kirstin E. Gardner
  U.S. Bankruptcy Administrator
  Thomas W. Waldrep, Jr.                     Jason L. Hendren
  James C. Lanik                             Rebecca F. Redwine
  Jennifer B. Lyday                          Benjamin E.F.B. Waller
  Trustee and Counsel for the Trustee        Counsel for the Trustee
  Thomas E. Austin, Jr.                      Dan Nelson
  Counsel for Cigna Health and Life Ins Co   Counsel for Premier Specialty Network LLC
  William Walt Pettit                        Melanie Johnson Raubach
  Counsel for Complete Business Solutions    Counsel for Atchison Hospital Association
  Group, Inc.
  John M. Sperati                            Brian R. Anderson
  Counsel for Somerset Capital Group, Ltd.   Special Counsel for Suzanne Koenig,
  and Somerset Leasing Corp., XXII           Health Care Ombudsman
  Paul A. Fanning                            David J. Haidt
  Ross A. Plourde                            Counsel for Cohesive Healthcare
  Counsel for Cohesive Healthcare            Management and Consulting
  Management and Consulting, LLC
  Nancy A. Peterman                          Sam G. Bratton, II
  Counsel for Suzanne Koenig, Health Care    J. Patrick Mensching
  Ombudsman                                  Counsel for CAH Acquisition 12, LLC
  William P. Janvier                         Ciara L. Rogers
  Erin K. Duffy                              Counsel for Sherwood Partners, Inc.
  Counsel for Boa Vida Foundation; Oswego
  Neuropsych Hospital, Inc.; Haskell
  Regional Hospital, Inc.
  Micah E. Marcus                            Lara S. Martin
  Counsel for Trustee                        Counsel for Beckman Coulter, Inc.
  Michael J. Quinn                           Ethridge B. Ricks
  Lauren A. Golden                           Counsel for Rural Wellness Fairfax, Inc.
  Counsel for Dept of Health and Human
  Services
  Hugh M. Robert                             Kristina Marie Wesch
  William C. Smith, Jr.                      Counsel for First Physicians Capital Group
  Counsel for Transcendental Union with
  Love and Spirit
  Eric Winston                               Brian H. Smith
  Counsel for Rural Wellness Fairfax, Inc.   Counsel for Complete Business Solutions
                                             Group, Inc.
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       This the 11th day of November 2020.
                                      NORTHEN BLUE, LLP

                                       /s/ John Paul H. Cournoyer
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